Case 8:16-cv-00158-SDM-JSS Document 1 Filed 01/21/16 Page 1 of 11 PageID 1
Case 8:16-cv-00158-SDM-JSS Document 1 Filed 01/21/16 Page 2 of 11 PageID 2
Case 8:16-cv-00158-SDM-JSS Document 1 Filed 01/21/16 Page 3 of 11 PageID 3
Case 8:16-cv-00158-SDM-JSS Document 1 Filed 01/21/16 Page 4 of 11 PageID 4
Case 8:16-cv-00158-SDM-JSS Document 1 Filed 01/21/16 Page 5 of 11 PageID 5
Case 8:16-cv-00158-SDM-JSS Document 1 Filed 01/21/16 Page 6 of 11 PageID 6
Case 8:16-cv-00158-SDM-JSS Document 1 Filed 01/21/16 Page 7 of 11 PageID 7
Case 8:16-cv-00158-SDM-JSS Document 1 Filed 01/21/16 Page 8 of 11 PageID 8
Case 8:16-cv-00158-SDM-JSS Document 1 Filed 01/21/16 Page 9 of 11 PageID 9
Case 8:16-cv-00158-SDM-JSS Document 1 Filed 01/21/16 Page 10 of 11 PageID 10
Case 8:16-cv-00158-SDM-JSS Document 1 Filed 01/21/16 Page 11 of 11 PageID 11




   Dated: January 19, 2016
